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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                           Criminal No. 10-cr-53-05-JD

Thomas Blank


                                  O R D E R


        The assented to motion to reschedule jury trial (document no.

67) filed by defendant is granted.             Trial is continued as to

defendant Blank and his co-defendants to the two-week period

beginning October 4, 2011, 9:30 AM.

        Defendant Blank shall file a waiver of speedy trial rights

within 10 days.       The court finds that the ends of justice served by

granting a continuance outweigh the best interest of the public and

the defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(B)(iv), for

the reasons set forth in the motion.

        SO ORDERED.



                                          /s/ Joseph A. DiClerico, Jr.
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

Date:     July 19, 2011

cc:   Michael Iacopino, Esq.
      Debra Walsh, Esq.
      Paul Garrity, Esq.
      Sven Wiberg, Esq.
      Jonathan Saxe, Esq.
      U.S. Marshal
      U.S. Probation
